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                         IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

     In re:
                                                               Chapter 11
     Stream TV Networks, Inc.,
                                                               Bky. No. 23-10763 (MDC)
                      Debtor.


     In re:                                                    Chapter 11

     Technovative Media, Inc.,                                 Bky. No. 23-10764 (MDC)

            Debtor.                                            (Jointly Administered)
     STREAM TV NETWORKS, INC. and
     TECHNOVATIVE MEDIA, INC.,

                      Plaintiffs,
     v.
                                                               Adv. No. 23-00057
     SHADRON L. STASTNEY, et al.,

                      Defendants.



                   ORDER EXTENDING ALL RESPONSIVE PLEADING DEADLINES

              AND NOW, the Court having entered an Order on January 5, 2024 (the “Trustee

    Appointment Order”), directing the United States Trustee’s Office (the “UST”) to immediately

    commence the process of appointing a chapter 11 trustee (the “Chapter 11 Trustee”) in the

    above-captioned bankruptcy cases (the “Bankruptcy Cases”). 1

              AND, on January 9, 2024, the UST filed a motion to appoint a Chapter 11 Trustee. 2

              AND, upon appointment, the Chapter 11 Trustee will require time to become familiar

    with and formulate strategy in the Bankruptcy Cases and the above-captioned adversary

    proceeding initiated by the Debtors (the “Adversary Proceeding”).



1
    Bankr. Docket No. 549.
2
    Bankr. Docket No. 553.
                                                     1
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        AND, the Court has determined that an extension of all deadlines in the Bankruptcy

 Cases and the Adversary Proceeding is necessary at this time.

        It is hereby ORDERED, ADJUDGED, AND DECREED that all current deadlines in

 the Bankruptcy Cases and the Adversary Proceeding are hereby EXTENDED for 30 days from

 the entry of this Order, subject to further extension sua sponte or upon motion and hearing.



 Dated: January 10, 2024                                    _______________________________
                                                            Magdeline D. Coleman
                                                            Chief United States Bankruptcy Judge




                                                 2
